Mohamed P00nja, Trustee
P.O. Box 1 5 10
Los Altos, CA 94023-1510

Telephone; (650) 941-3400 F"_ E D

Emaiol: mp@poonja.us MAY 4 V 2016

UNITED STATES BANKRUPTCY COURT UN|TED STATES r")rl|\'KHUPJ"L`-YCOUHT
SAN FHA¢"JET|SCO. CA

NORTHERN DISTRICT OF CALIFORNIA

In re: Case No. 98-59752 MEH
JTS Corporation
Chapter 7
Debtor NOTICE OF UNCLAIMED
DIVIDENDS

 

TO THE CLERK, UNITED STATES BANKRUPCY COURT:
Pursuant to Federal Rule 3011, the trustee in the above captioned case hereby turns over
to the Court, unclaimed dividends as itemized below. The name and address of the claimant

entitled to the unclaimed dividends are as follows:

 

 

 

Claim# Name & Address Claim Dividend
of Claimant Amount Amount
ELEC & ELTEK COMPANY LIMITED $2,778,232.71 $114,840.69'
116 3/F Block B, Merit Industrial Centre,
94 Tokwawan Rd.
Kowloon
Hong Kong
1372 NORTH WEST ELECTRONICS $300.00 $8.27»

1008 lOTH ST
MILFORD, IA 51351

 

1356 DOMINIC WATTS $6,633.41 $274.20~
ORCHARDS RIVERWOODS DR MARLOW
BUCKS 5L7 lQX ENGLAND

 

 

1354 SONY ELECTRONICS, INC. $99,316.62 $4,105.34 ‘
C/O LLOYD B. SARAKIN

123 TICE BLVD. MD #Tl-4
WOODCLIFF LAKE, NJ 07675

 

 

 

 

 

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1340

WYLE MINGO
10305 COLEVAS TURN
SHELTONHAM, MA 20623

$159.00

$6.57 /

 

1319

FOUNTAIN TECHNOLOGIES

BENEDICT A. RABO - SCHUTA I. MARKIN
6 SPRUCE HILL RD

ARMONK, NY 10504

$351,285.00

$14,520.67

 

1312

MICK CASEY AND DONNA BRADY
7681 GREENBACK LN. #2058
CITRUS HEIGHTS, CA 95610

$350.00

$14.47

 

10301

MARY G. HOWSON
675 N ADAMS #6
BUFFALO, WY 82834

$135.45

\

$5.60

 

1297

BRANDON J. SANDIFER
14300 HEMLOCK ST.
SAN LEANDRO, CA 94579

$3,192.90

$131.98‘

 

1291

MIKE NERVILLE
47 MAR VISTA
POCATELLO, ID 83204

$150.00

$6.20 -»

 

1256

INTELEC TECHNOLOGY PTE LTD
ICB ENTERRISE HOUSE

116 MIDDLE RD # 08 - 03, SINGAPORE
188972

$413,802.45

$17,104.89 /

 

1187

MAGNELL ASSOCIATE
DBA ABS COMPUTERS
9997 ROSEHILL RD.
WHITTER, CA 90601

$6,896.00

$285.05’"

 

 

1148

 

JOHN BORSARI
2005 7TH AVE
SANTA CRUZ, CA 95062

$139.00

 

 

$5.75»

 

 

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919 BURR AND FORMAN LLP $6,150.55 $254.24
ONE GEORGIA CENTER

600 W PEACHTREE ST. #1200
ATLANTA, GA 30308

1109 SCOTT GUTMAN $300.00 $12.40 ‘_
7492 SAN CLEMENTE PL
BOCA RATON, FL 33433

 

 

 

 

 

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Dated: May 2, 2016

S/ Mohamed Poonja MOHAMED POONJA, TRUSTEE

 

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